Case: 2:17-cv-00844-JLG-EPD Doc #: 1 Filed: 09/26/17 Page: 1 of 10 PAGEID #: 1



                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 WILLIAM L. HANNA                                  Case No.:
 2136 Sunrush Court
 Grove City, Ohio 43123                            Judge:

 and

 CYNTHIA G. HANNA
 2136 Sunrush Court                                JURY DEMAND ENDORSED HEREIN
 Grove City, Ohio 43123

       Plaintiffs,

 vs.

 WELLS FARGO BANK, N.A.
 c/o CSC-Lawyers Incorporating Service
 50 West Broad Street, Ste 1330
 Columbus, Ohio 43215

       Defendant.


              COMPLAINT FOR MONEY DAMAGES AND OTHER RELIEF

                          JURY DEMAND ENDORSED HEREIN

           The following allegations are based upon Plaintiffs’ William L. Hanna and

 Cynthia G. Hanna (the “Hannas”) personal knowledge, the investigation of counsel, and

 information and belief. The Hannas, through counsel, allege as follows:

 I.        INTRODUCTION

 1. Plaintiffs William Hanna, a Clinical Psychological Resident, and his wife, Cynthia

       Hanna, a support specialist, are pregnant with their first child after many difficult

       years of trying and are personally and professionally reliant upon the availability of

       their cell phones. The Hannas are hard-working, loyal customers of Defendant Wells


                                               1
Case: 2:17-cv-00844-JLG-EPD Doc #: 1 Filed: 09/26/17 Page: 2 of 10 PAGEID #: 2



        Fargo Bank, N.A. (“Defendant”) who continue to make consistent payments towards

        their mortgage never falling more than a month behind.           Despite the Hannas’

        circumstances, Defendant coldly and aggressively continues to use a robodialer for

        the sole purpose of harassing the Hannas with non-stop calls to their cellular phones

        five to twenty times a day. The calls are so incessant, that William Hanna’s sessions

        with child patients are constantly interrupted and disturbed by the ringing of his cell

        phone forcing him to choose between allowing the distraction or denying his wife’s

        ability to contact him in the event of emergency.

 2. The Hannas repeatedly demanded that Defendant stop making phone calls to their

        cellular telephones with no success stopping the behavior. Plaintiff is left with no

        other options than to bring this action under 47 U.S.C. § 227 et seq. against

        Defendant to stop their excessive and abusive activities.

 II.       PRELIMINARY STATEMENT

 3. The Hannas institute this action for actual damages, statutory damages, treble

        damages, attorneys’ fees, and the costs of this action against Defendant for multiple

        violations of the Telephone Consumer Protections Act (“TCPA”), 47 U.S.C. § 227 et

        seq.

 III.      JURISDICTION AND VENUE

 4. The Hannas incorporate all other paragraphs in this Complaint by reference as though

        fully written here.

 5. This Court has jurisdiction over Counts One and Two pursuant to 28 U.S.C. § 1331

        and 47 U.S.C. § 227 et seq.




                                                 2
Case: 2:17-cv-00844-JLG-EPD Doc #: 1 Filed: 09/26/17 Page: 3 of 10 PAGEID #: 3



 6. This Court has personal jurisdiction over Defendant because Defendant conducts

    substantial business in Ohio, and this lawsuit arises out of acts which occurred in

    Ohio.

 7. Venue is proper in the United States District Court for the Southern District of Ohio

    because Defendant conducts business in this District, the acts that gave rise to this

    lawsuit occurred in this District and the Hannas reside in this District. Further,

    Defendant is deemed to reside in any judicial district in which it is subject to personal

    jurisdiction at the time the action is commenced, and Defendant’s contacts with this

    District are sufficient to subject it to personal jurisdiction.

 IV. PARTIES

 8. The Hannas incorporate all other paragraphs in this Complaint by reference as though

    fully written here.

 9. The Hannas are natural persons currently residing within this Court’s jurisdiction at

    2136 Sunrush Court, Grove City, Ohio 43123.

 10. Defendant is a bank and loan servicer with its principal place of business located in

    the State of South Dakota.

 V. FACTUAL ALLEGATIONS

 11. The Hannas incorporate all other paragraphs in this Complaint by reference as though

    fully written here.

 12. The Hannas at all times mentioned herein are, a “person[s]” as defined by 47 U.S.C. §

    153(39).

 13. Defendant is, and at all times mentioned herein was, a “person,” as defined by 47

    U.S.C. § 153(39).



                                                3
Case: 2:17-cv-00844-JLG-EPD Doc #: 1 Filed: 09/26/17 Page: 4 of 10 PAGEID #: 4



 14. Mr. Hanna is a Clinical Psychological Resident in his second year of residency and

    counsels children throughout the day.

 15. Mrs. Hanna is a support specialist and pregnant with the Hanna’s first child.

 16. Due to the circumstances of Mrs. Hanna’s pregnancy, Mr. Hanna must be available to

    communicate via his cell phone at all times.

 17. The Hannas never gave Defendant consent to be called on their cellular phones.

 18. The Hannas obtained their current cellular phone numbers from AT&T Wireless in or

    around 2003.

 19. Both the Hannas cellular telephone numbers are telephone numbers assigned to a

    cellular telephone service as described in 47 U.S.C. § 227(b)(1)(A)(iii).

 20. Defendant started repeatedly calling the Hannas on their cellular telephones in or

    around November 2015.

 21. Defendant places calls to the Hannas’ cellular phones two to twenty times per day.

 22. Defendant uses systems with the capacity to store or produce telephone numbers to be

    called using a random or sequential number generator and to dial such numbers when

    placing calls to the Hannas’ cellular phones.

 23. Defendant uses equipment with the capacity to store or produce telephone numbers to

    be called using a random or sequential number generator and to dial such numbers

    when placing calls to the Hannas’ cellular phones.

 24. Defendant uses an automated telephone dialing system to call the Hannas’ cellular

    telephones for purposes other than an emergency.

 25. Defendant uses an automated telephone dialing system to connect its agents with the

    Hannas’ cellular telephones.



                                              4
Case: 2:17-cv-00844-JLG-EPD Doc #: 1 Filed: 09/26/17 Page: 5 of 10 PAGEID #: 5



 26. Defendant uses an automated telephone dialing system to leave automated and

    prerecorded messages on the Hannas’ cellular telephones causing the Hannas’

    voicemail inboxes to fill up preventing others from leaving voicemails.

 27. The Hannas told Defendant on multiple occasions to stop calling them.

 28. Calls placed by Defendant’s automated telephone dialing system distracts and

    interrupts Mr. Hanna’s psychology counseling sessions with distressed children.

 29. Calls placed by Defendant’s automated telephone dialing system inhibit and interfere

    with the Hannas’ ability to communicate and be available to communicate with each

    other regarding Mrs. Hanna’s health, pregnancy, and other urgent family matters.

 30. Defendant employed an “automatic telephone dialing system,” as defined by 47

    U.S.C. § 227(a)(1), to contact the Hannas on their cellular telephones.

 31. Similarly, Defendant employed “an artificial or prerecorded voice” as described in 47

    U.S.C. § 227(b)(1)(A) to communicate with the Hannas on their cellular telephones.

 32. The telephone number that Defendant used to contact the Hannas, with an “artificial

    or prerecorded voice” made by an “automatic telephone dialing system,” was

    assigned to a cellular telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).

 33. Defendant did not obtain prior express consent from the Hannas to receive

    prerecorded calls by Defendant on their cellular telephones.

 34. Defendant did not obtain prior express consent allowing Defendant to place telephone

    calls to the Hannas’ cellular phones utilizing an “artificial or prerecorded voice” or

    placed by an “automatic telephone dialing system,” within the meaning of 47 U.S.C.

    § 227(b)(1)(A).




                                             5
Case: 2:17-cv-00844-JLG-EPD Doc #: 1 Filed: 09/26/17 Page: 6 of 10 PAGEID #: 6



 35. The telephone calls from Defendant to the Hannas’ cellular phones were not made

    “for emergency purposes” utilizing an “artificial or prerecorded voice” as described

    in 47 U.S.C. § 227(b)(1)(A).

 36. Defendant did not employ an “automatic telephone dialing system,” to make

    telephone calls to the Hannas’ cellular phones “for emergency purposes” as described

    in 47 U.S.C. § 227(b)(1)(A).

 37. Defendant’s telephone calls to the Hannas’ cellular phones utilizing an “artificial or

    prerecorded voice” were for non-emergency purposes and in the absence of the

    Hannas’ prior express consent to Defendant, violated 47 U.S.C. § 227(b)(1)(A).

 38. Defendant’s telephone calls to the Hannas’ cellular phones placed by an “automatic

    telephone dialing system” were for non-emergency purposes and in the absence of

    the Hannas’ prior express consent, violated 47 U.S.C. § 227(b)(1)(A).

 39. Defendant knowingly used an automatic telephone dialing system or an artificial or

    prerecorded voice to make the telephone calls without obtaining the Hannas prior

    express consent.

 40. Defendant was told by the Hannas on multiple occasions to stop calling their cellular

    phones.

 41. The degree, veracity and amount of calls made to the Hannas clearly exceeds the

    reasonable expectations of consumers.

 42. Defendant acted willfully, knowingly, and with complete disregard for the TCPA

    when it initiated the calls described above.




                                              6
Case: 2:17-cv-00844-JLG-EPD Doc #: 1 Filed: 09/26/17 Page: 7 of 10 PAGEID #: 7



 43. Due to Defendants calls, the Hannas suffered severe physical and emotional

    exhaustion, increased stress, apprehension, lack of sleep, and other emotional

    damages.

 44. Due to Defendants calls, the Hannas suffered decreased professional productivity and

    effectiveness.

 45. Due to Defendant’s illegal calls, the Hannas were injured and Defendant is liable to

    them for violations of 47 U.S.C. § 227 et seq.

 VI. COUNT ONE – KNOWING AND/OR WILLFUL VIOLATIONS OF THE
 TELEPHONE CONUSMER PROTECTIONS ACT, 47 U.S.C. § 227 et seq.

 46. The Hannas incorporate all other paragraphs in this Complaint by reference as though

    fully rewritten herein.

 47. Defendant used an automatic telephone dialing system to call a cellular telephone

    without the prior express consent of the called party in violation of 47 U.S.C. §

    227(b)(1)(A).

 48. Defendant made unlawful calls using an artificial or prerecorded voice to a cellular

    telephone without prior express consent of the called party 47 U.S.C. § 227(b)(1)(A).

 49. Defendant used an automatic telephone dialing system to call the Hannas on

    numerous occasions from 2015 through the present without the Hannas’ prior express

    consent in violation of 47 U.S.C. § 227(b)(1)(A).

 50. Defendant made unlawful calls to the Hannas using an artificial or prerecorded voice

    on numerous occasions from 2015 through the present without the Hannas’ prior

    express consent in violation of 47 U.S.C. § 227(b)(1)(A).




                                             7
Case: 2:17-cv-00844-JLG-EPD Doc #: 1 Filed: 09/26/17 Page: 8 of 10 PAGEID #: 8



 51. Defendant used an automatic telephone dialing system or an artificial or prerecorded

    voice, in violation of 47 U.S.C. § 227(b)(1)(A), to call the Hannas between 2 and 20

    calls per day.

 52. The foregoing acts and omissions of Defendant constitute numerous and multiple

    knowing and/or willful violations of the TCPA, including but not limited to, each of

    the above-cited provisions of 47 U.S.C. § 227 et seq.

 53. The Hannas were injured by Defendant’s conduct in receiving the illegal calls and

    Defendant is liable to the Hannas for these violations.

 54. As a result of Defendant’s knowing and/or willful violation of 47 U.S.C. § 227 et

    seq., the Hannas are entitled to treble damages of up to $1,500 for each and every call

    in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3).

 55. Due to the egregious conduct and willful behavior of Defendant, the Hannas are also

    entitled to actual and non-economic damages, attorneys’ fees and costs.

 VII. COUNT TWO – VIOLATION OF THE TELEPHONE CONSUMER
 PROTECTION ACT 47 U.S.C. § 227 ET SEQ

 56. The Hannas incorporates all paragraphs by reference as though fully written here.

 57. The foregoing acts and omissions of Defendant constitute numerous and multiple

    violations of the TCPA, including but not limited to each of the above-cited

    provisions.

 58. The Hannas were injured by Defendant’s conduct in receiving the illegal calls and

    Defendant is liable to the Hannas for these violations.

 59. As a result of violations of 47 U.S.C. § 227 et seq., the Hannas are entitled to an

    award of up to $500 for each and every call, in violation of the statute, pursuant to 47

    U.S.C. § 227(b)(3)(B).


                                              8
Case: 2:17-cv-00844-JLG-EPD Doc #: 1 Filed: 09/26/17 Page: 9 of 10 PAGEID #: 9



 60. The Hannas are also entitled to actual and non-economic damages, attorneys’ fees

    and costs.

 VIII. PRAYER FOR RELIEF

 WHEREFORE, the Hannas respectfully request that this Court grant the following relief

 against Defendant:

 A. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. §

    227(b)(1), the Hannas seek treble damages, as provided by statute, $1,500 for each

    and every call that violated the TCPA;

 B. As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1), the Hannas seek at

    least $500 in statutory damages for each and every call that violated the TCPA.

 C. Grant the Hannas judgment on all their claims;

 D. An award of actual and non-economic damages, attorney’s fees and costs to counsel

    for the Hannas; and

 E. Any other such relief, as the Court deems appropriate.

 Dated this 26th day of September, 2017.     Respectfully Submitted,
                                             DOUCET & ASSOCIATES, CO., LPA



                                             /s/ Sean M. Kohl___________
                                             Sean M. Kohl (0086726)
                                             Andrew J. Gerling (0087605)
                                             Briana R.C. Hart (0095258)
                                             Attorneys for Plaintiffs William L. Hanna
                                             and Cynthia G. Hanna
                                             700 Stonehenge Parkway, Suite 2B
                                             Dublin, OH 43017
                                             (614) 944-5219 PH
                                             (818) 638-5548 FAX
                                             Sean@TroyDoucet.com
                                             Andrew@Doucet.Law
                                             Briana@Doucet.Law


                                             9
Case: 2:17-cv-00844-JLG-EPD Doc #: 1 Filed: 09/26/17 Page: 10 of 10 PAGEID #: 10



                                 JURY TRIAL DEMANDED

       The Plaintiffs respectfully request a jury trial on all triable issues.



                                                 /s/ Sean M. Kohl___________
                                                 Sean M. Kohl (0086726)




                                                10
